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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 IN RE: NATIONAL FOOTBALL LEAGUE                       :             No. 2:12-md-02323-AB
 PLAYERS’ CONCUSSION INJURY                            :
 LITIGATION                                            :                      MDL No. 2323
                                                       :
                                                       :                Hon. Anita B. Brody
 THIS DOCUMENT RELATES TO:                             :
                                                       :
 ALL ACTIONS                                           :
                                                       :


                  CLAIMS ADMINISTRATOR STATUS REPORT NO. 4

                                  I.      INTRODUCTION

       1.     The Purpose and Scope of this Status Report. BrownGreer PLC, the Court-

appointed Claims Administrator of the Settlement Program established under the Class

Action Settlement Agreement in this litigation, submits this Status Report No. 4 to apprise

the Court on the implementation of its duties as the Claims Administrator and developments

since Status Report No. 3 filed on November 1, 2018 (Document 10318). Our earlier Status

Reports are posted to the Settlement Website (under “Documents,” click “Other Court

Filings”). We do not repeat here what we covered in them. All numbers and other

information in this Status Report No. 4 are as of February 11, 2019. We will cover

developments after that date in future reports.

                          II.    MONETARY AWARD CLAIMS

       2.     Total Claims Received. Section 3 of the Summary Report on the Settlement

Website shows the total Monetary Award claims submitted. We have received 594 new

Monetary Award claims since Status Report No. 3, bringing the total to 2,644 Monetary Award
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Claim Packages from Retired NFL Football Players and Representative Claimants (15.3% of

registered Players (or their Representative Claimants)). The February 6, 2019 Claim Package

submission deadline for pre-Effective Date diagnoses has passed. We received 328 new

Monetary Award claims from February 4 through February 6, 2019, of which 208 (63%) were

for pre-Effective Date diagnoses and one was for a post-Effective Date diagnosis; the other 119

new claims that came in over those three days did not tell us what diagnosis date they assert and

we will not know that until we review these claims and go back to the Settlement Class Members

to ask for more information. From January 1 to February 3, 2019, we had received 152 new

claims, which was an average of about 32 claims per week. Before the spike in claims leading

up to the deadline, we had been receiving about 10 claims per week. Of all 2,644 Monetary

Award claims we received, 1,890 (71%) rest on pre-Effective Date diagnoses, while 472 (18%)

are for post-Effective Date diagnoses, of which 88 (19% of the 472) were made in the Baseline

Assessment Program (“BAP”) and 384 (81% of the 472) were made by Qualified MAF

Physicians. We highlight the asserted Qualifying Diagnoses and diagnosis dates in Sections 4

and 5 of the Summary Report on the Settlement Website. We also show the current status of all

Monetary Award claims based on the last notice or action taken in Section 8 of the Summary

Report on the Settlement Website.

        3.       Monetary Awards and Payments.

        (a) We show Monetary Awards and payments in Sections 7 and 11 of the Summary

Report on the Settlement Website. We have issued Notices of Monetary Award for 779

claims totaling $618,768,460. 1 We request funding from the NFL Parties by the 10th of each

month for claims that have received a Notice of Monetary Award for which the appeals


1
 The amount of these 779 Notices of Monetary Award includes the 1% of Awards allocated to eligible Derivative
Claimants. See Paragraph 14 of this Status Report.


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process is complete (or the appeal deadline has passed with no appeal) and that are not in

Audit. 2 Of the 779 claims with Notices of Monetary Award, 702 reached the point of

funding from the NFL Parties, which had deposited $499,393,980 into the Monetary Award

Fund for 610 claims and not yet funded 92 claims because they were within the funding

deadline for the January and February Funding Requests. Of the 610 Monetary Award

claims for which the NFL Parties had deposited funds, the Program paid 569 claims for a

total of $425,221,431. The remaining 41 funded claims were not yet ready for payment

when we submitted the most recent Disbursement Request; some have not been paid because

they have been stayed by the Court’s November 16, 2018 (Document 10337) or December

10, 2018 (Document 10356) Order, some have holds preventing payment, some do not have a

submitted Payment Election Form or SWS-5, and some have holdbacks for potential Liens

which, together with the 5% deduction for the Common Benefit Fund, exceeded the gross

award amount. For the 569 Retired NFL Football Players and Representative Claimants who

have been paid, the Trustee sent $23,175,624 (5% of those Monetary Awards), to the

Attorneys’ Fees Qualified Settlement Fund, in accordance with the Court’s June 27, 2018

Order Regarding the Common Benefit Fund (Document 10104). Finally, we are required to

withhold money for unresolved Liens and for third-party funders that may accept rescission

of prohibited assignments (as described further in Paragraph 15). Table 1 shows the

distribution of the $425,221,431 paid by the Settlement Program and compares those totals to

those reported in Status Report No. 3:




2
 We submitted the January 2019 Funding Request on January 14, 2019, to allow the Special Masters to set the
annual inflation adjustment based on data for the full year before we made the request. We sent the February 2019
Funding Request on February 11, 2019, because the 10th fell on a Sunday. The NFL Parties have 30 days from the
date of the Funding Request to fund the amount requested.


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  Table 1                           MONETARY AWARD PAYMENTS
                     PAID TO                 AS OF 10/15/18    AS OF 2/11/19          CHANGE
       Settlement Class Members (or their
 1.    lawyers on their behalf, if            $344,361,427         $416,958,080      +$72,596,653
       represented)
       Medical Lienholders (on behalf of
       Settlement Class Members to the
       Lien Resolution Administrator to
 2.                                            $2,542,909           $2,771,502        +$228,593
       resolve medical Liens when a final
       Lien resolution amount is
       determined)
       Non-Medical Lienholders (on
       behalf of Settlement Class Members
 3.                                             $540,239            $3,301,972       +$2,761,733
       to lienholders to resolve non-medical
       Liens)
       Third-Party Funders (on behalf of
       Settlement Class Members to Third-
       Party Funders who have accepted
 4.    rescission of and/or terminated          $862,805            $2,189,876       +$1,327,071
       prohibited assignments that they had
       entered into with Settlement Class
       Members)
 5.                    Totals                 $348,307,380         $425,221,431      +$76,914,051

         (b) Table 2 shows the changes in figures for payments and claims with Notices of

Monetary Award since Status Report No. 3:

      Table 2       MONETARY AWARD CHANGES SINCE STATUS REPORT NO. 3
                             HOW MANY                                AMOUNT
          STATUS         AS OF     AS OF
                                           CHANGE AS OF 10/15/18     AS OF 2/11/19     CHANGE
                        10/15/18   2/11/19
   Notice of
1. Monetary               649       779    +130    $569,314,153 $618,768,460 +$49,454,307
   Award Issued
2. Paid                   419       569    +150    $348,307,380 $425,221,431 +$76,914,051

Of the 779 claims with Notices of Monetary Award, 143 (18%) have been appealed (112 by

the NFL Parties and 31 by the Settlement Class Member). This is 25 more appeals (12 by the

NFL Parties and 13 by Settlement Class Members) than we described in Status Report No. 3.



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We show the status of appealed Monetary Award claims in Section 9 of the Summary Report

on the Settlement Website.

        4.      Monetary Award Claims Reviewed by the AAP.

        (a) There are 43 claims in or still requiring Appeals Advisory Panel (“AAP”) review,

which is 15 fewer than the 58 we reported in Status Report No. 3. The AAP has reviewed

733 pre-Effective Date diagnosis Monetary Award claims, approving 395 (54%) of those

claims. 3 Under FAQ 138 (“Can I be found eligible for a Monetary Award based on a Qualifying

Diagnosis that is different than the one I claimed?”), the AAP has found a lower level diagnosis

(meaning a Qualifying Diagnosis that is less severe medically or with a lower Award amount

under the Monetary Award Grid) on 40 claims (an increase of 17 since Status Report No. 3).

        (b) We have assigned 397 claims (an increase of 61 since Status Report No. 3) to the

Appeals Advisory Panel Consultants (“AAPC”) based on requests by AAP members for their

input on Level 1.5 and Level 2 Neurocognitive Impairment Qualifying Diagnoses or the

neuropsychological testing supporting an Alzheimer’s Disease diagnosis. The AAPC has

completed 353 reviews (89%) and provided their assessments to the AAP. An AAPC

member is reviewing the other pending claims.

        5.      Notices for Missing Materials. We have sent one or more notices requesting

additional documents or information on 1,482 Monetary Award claims, which is 154 more

claims than we reported in Status Report No. 3. More of the Level 1.5 and Level 2 claims

are missing materials than claims for the other Qualifying Diagnoses, as shown in Table 3:




3
 Broken down by Qualifying Diagnosis, the AAP members approved 98% of Death with CTE claims, 95% of ALS
claims, 78% of Alzheimer’s claims, 91% of Parkinson’s claims, 28% of Level 2 claims and 36% of Level 1.5
claims.



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     Table 3                                      NOTICES FOR MISSING MATERIALS
                                             ALZHEIMER’S           PARKINSON'S       LEVEL      LEVEL      MULTIPLE/
           CLAIMS          CTE      ALS                                                                                     TOTAL
                                               DISEASE               DISEASE           2          1.5      UNKNOWN 4
      Total
1.                         115       51            469                 148             660        946           255         2,644
      Submitted
2. Notice Issued            19       23            258                  74             389        588           131         1,482
      % Missing
3.                        17%       45%            55%                 50%            59%        62%           51%          56%
      Materials

       So far, 74% of the Settlement Class Members who received a notice requesting additional

       documents have responded to the notice. Settlement Class Members take an average of

       about 55 days to respond. We receive approximately 10 to 15 responses to these notices each

       week and review each reply to determine if it cures the problem. Of those that responded,

       46% cured the problem. Section 6 of the Summary Report on the Settlement Website shows

       how many claims last received a notice requesting additional documents/information.

               6.       Statute of Limitations Matters.

               (a) The Rules Governing Statute of Limitations Proceedings explain how the Special

       Masters make determinations as to whether claims submitted by Representative Claimants on

       behalf of Retired NFL Football Players who died before January 1, 2006, are barred by

       statutes of limitations, as specified in Section 6.2(b) of the Settlement Agreement. We have

       received 369 Registration Forms from Representative Claimants that may require a statute of

       limitations analysis, but 134 individuals did not properly register because of uncured

       incompleteness reasons or the player was not a Settlement Class Member because he did not



       4
         These “Multiple/Unknown” claims are ones where the Settlement Class Member asserted more than one
       Qualifying Diagnosis or the claim is so incomplete that we cannot tell what Qualifying Diagnosis is claimed. We
       process and pay a person for only one Qualifying Diagnosis per claim submission. All of these claims by definition
       are incomplete because we need to know which Qualifying Diagnosis should be used. We soon will issue notices on
       the 124 claims that had not yet received one as of February 11, 2019. The number of claims in this group without a
       notice is larger than usual because of the high volume of Claim Packages we received through the February 6, 2019
       deadline for claims based on pre-Effective Date diagnoses.


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play NFL Football as required by the Settlement Agreement. Of those Settlement Class

Members who are registered, 122 submitted Claim Packages, 46 of those since January 1,

2019. Rule 7 of the Rules Governing Statute of Limitations Proceedings requires that a

Claim Package be complete before a statute of limitations proceeding may begin. Of the 122

Claim Packages we received: (a) 42 are complete and assert a potentially compensable

Qualifying Diagnosis if the claim is not time-barred under Settlement Agreement Section

6.2(b); (b) 11 are incomplete but still within the Settlement Class Members’ deadlines to

submit missing items; (c) 36 have been denied for failing to cure deficiencies or for not

asserting a compensable Qualifying Diagnosis; and (d) 33 are under review because we

received them around the February 6, 2019 deadline for pre-Effective Date claims. Table 4

summarizes the changes to these numbers since Status Report No. 3:

                 STATUS OF CLAIMS REQUIRING STATUTE OF LIMITATIONS
  Table 4
                                     ANALYSIS
                                              HOW MANY                           %
                STATUS                  AS OF         AS OF           AS OF     AS OF
                                                              CHANGE                    CHANGE
                                       10/15/18       2/11/19        10/15/18   2/11/19
      Complete - Potentially
 1.   Compensable Qualifying             33            42      +9      46%      34%     -13%
      Diagnosis
      Incomplete – Within Deadline
 2.                                       3            11      +8       4%       9%     +5%
      to Submit Missing Items
      Denied – Deficient or No
 3.   Compensable Qualifying             35            36      +1      49%      30%     -19%
      Diagnosis
 4.   Under Review                        0             33     +33      0%      27%    +27%
 5.              Totals                  71            122     +51              100%

We have issued a Notice of Commencement of Statute of Limitations Proceeding under

Statute of Limitations Rule 16 to the 42 Representative Claimants with complete Claim

Packages to start the briefing process under the Rules. The Special Masters will not rule on



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these until all claims presenting this issue have been fully briefed, to permit all affected

Representative Claimants to be heard before any ruling and allow for the consideration of all

arguments in a uniform and efficient manner.

           (b) On January 15, 2019, we provided Co-Lead Class Counsel with mailing and email

addresses for 155 Representative Claimants who registered a deceased Retired NFL Football

Player for the Program but had not yet submitted a Claim Package. Co-Lead Class Counsel

sent these Representative Claimants a letter or email reminding them of the February 6, 2019

Claim Package submission deadline.

           7.       Monetary Award Denials. There have been 580 denials of Monetary Award

claims for reasons other than an Audit (75 more since Status Report No. 3), as shown in

Table 5: 5

     Table 5                                       MONETARY AWARD DENIALS
                                        ALZHEIMER’S          PARKINSON'S    LEVEL   LEVEL   MULTIPLE/
          CLAIMS        CTE      ALS                                                                    TOTAL
                                          DISEASE              DISEASE        2       1.5   UNKNOWN
       Total
    1.                  115       51           469                    148    660     946       255      2,644
       Submitted
    2. Denied             9       1            61                      8    140     259       102       580
    3. % Denied          8%      2%           13%                     5%    21%     27%       40%       22%

Sections 6 and 10 of the Summary Report on the Settlement Website show these denials and

the reasons for them. Overall, the AAP found 339 (58%) of these claims did not reflect a

valid Qualifying Diagnosis. Other claims were denied because a fundamental requirement in

the Settlement Agreement was not satisfied (e.g., date of death for a Death with CTE claim)

or because Settlement Class Members did not provide the mandatory information and/or

documents we requested in our notices and outreach efforts. When an AAP member denies a



5
    We discuss Audit denials in Paragraph 11 of this Status Report.


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claim, we include in the notice comments from that AAP member explaining why. When a

claim is denied on other grounds, we typically call or email the Settlement Class Member (or

his or her lawyer, if represented) to explain why the claim is being denied and discuss

options for resubmitting the claim, appealing the denial, or withdrawing the claim until the

claimant can obtain the missing mandatory information and/or documents. Our denial

notices explain all appeal rights and that another claim may be submitted if circumstances

change or if the claimant receives a new diagnosis from a Qualified MAF Physician or after a

BAP exam. Settlement Class Members have appealed 123 of the 580 denials.

                          III.    QUALIFIED MAF PHYSICIANS

       8.     Establishing and Maintaining the MAF Network.

       (a) We continue to identify and contact providers, collect applications, verify credentials,

submit applicants to the Parties for approval and contract with approved Qualified MAF

Physicians, in conjunction with the BAP Administrator. We recently sought candidate

recommendations from the AAP and received six potential leads that we are actively pursuing.

We add Qualified MAF Physicians to the posted list as these steps are completed. The posted

list includes 127 of the total 153 approved Qualified MAF Physicians. We will add the

remaining 26 potential Qualified MAF Physicians when we receive signed contracts back from

them. We have final contracts with Qualified MAF Physicians in or near 41 of the 53 target

cities closest to where the majority of living Retired NFL Football Players reside. Table 6 shows

the changes in these numbers since Status Report No. 3:




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  Table 6                            QUALIFIED MAF PHYSICIANS

                 DATA POINT                    AS OF 10/15/18 AS OF 2/11/19         CHANGE
 1.   Total Approved Physicians                      167              153               -14
 2.   Approved – On Posted List                      131              127                -4
 3.   Approved – Not Yet Posted                       36               26               -10
 4.   Target Cities Represented                       41               41                0

Settlement Class Members and lawyers can locate Qualified MAF Physicians using the MAF

Physician Locator Tool on the Settlement Website. We explain in sub-paragraph (b) below why

the total number of approved physicians went down by 14 (Row 1 of Table 6).

       (b) Three facilities with 13 total physicians withdrew from consideration to be Qualified

MAF Physicians because they are fully occupied serving as Qualified BAP Providers. Four

additional physicians from four different facilities withdrew from the Program for other reasons.

The Parties approved three new Qualified MAF Physicians since Status Report No. 3 and we

secured their signed contracts and added them to the posted list of Qualified MAF Physicians.

These three new physicians partially offset the 17 who withdrew.

                                         IV.     AUDIT

       9.       Closed Audits. We have concluded the Audit investigations of 369 claims.

Table 7 summarizes the reasons for these closures and changes in the numbers since Status

Report No. 3:

  Table 7                                      CLOSED AUDITS

            REASON FOR CLOSURE                 AS OF 10/15/18 AS OF 2/11/19         CHANGE
      No Finding of Misrepresentation,
 1.   Omission, or Concealment; or                   165              261              +96
      Special Masters Directed Result
      Claim Withdrawn by Settlement
 2.                                                  53               108              +55
      Class Member
 3.                 Totals                           218              369              +151



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       10.    Reports of Adverse Finding in Audit. Since Status Report No. 3, we have

issued to the Parties four additional Reports of Adverse Finding in Audit, bringing the total

to 16 such Audit Reports affecting 511 Monetary Award claims, 15 of which were then

referred to the Special Masters. The Parties are reviewing the one Audit Report not yet

referred to the Special Masters. These 16 Audit Reports concern three neurologists, 12

neuropsychologists, two law firms, five individual Settlement Class Members and one claims

preparation company. The Special Masters accepted our referrals on eight of the 15 Audit

Reports referred to them, which concern 11 neuropsychologists, three neurologists and one

law firm; rejected our referral on one Audit Report covering one neuropsychologist; and are

considering whether to accept six, which concern one law firm and five individual Settlement

Class Members.

       11.    Special Master Decisions. Since Status Report No. 3, the Special Masters

have issued findings in two additional Audit Proceedings, both dated October 25, 2018. In

one, they disqualified Dr. Ena Andrews, a neurologist, from participating in the Program,

which means no claims may be submitted in reliance on her diagnoses. In the other, they

ruled on the Audit Report regarding father-son duo Drs. Robert Martinez and Robert C.

Martinez (the “Martinez Doctors”), both neurologists. The Special Masters did not

disqualify the Martinez Doctors, but their decision canceled all Award and Denial Notices

issued for claims based on their diagnoses and directed special processing of the claims

through a single AAP member and a single AAPC. Copies of the Special Masters’ decisions

are published on the Settlement Website (under “Documents” click “Special Master” below

“Published Decisions”). We have denied 190 claims after Audit based on decisions by the

Special Masters disqualifying certain neurologists and neuropsychologists from participating




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in the Program. 6 Sections 6 and 8 of the Summary Report on the Settlement Website show

these denials. A Settlement Class Member whose claim is denied after Audit may submit a

new claim if based on a Qualifying Diagnosis that does not rely on records or opinions from

disqualified doctors.

        12.      Ongoing Audit Investigations. We have other Audit investigations underway

affecting 170 claims (106 fewer than the 276 we reported in Status Report No. 3), of which

163 are subject to four group investigations of claims with similar characteristics and seven

are individual claims. There are 110 claims in the group investigations on hold according to

the Special Masters’ July 13, 2018 Order on Audit investigations (Document 10136) because

one or more parties in the Audit have refused to provide information necessary to advance

the Audit.

        13.      Order Appointing Special Investigator. On September 11, 2018, the Special

Masters requested that the Court appoint a Special Investigator so they could faithfully

implement the Settlement Agreement and move toward the prompt payment of all valid

claims (Document 10253). The Court granted this request on September 12, 2018

(Document 10255). On December 10, 2018, the Court appointed the Honorable Lawrence F.

Stengel (Retired) as Special Investigator and outlined his authority and scope of work in an

Order (Document 10355).

                                 V.       DERIVATIVE CLAIMANTS

        14.      Derivative Claims.

        (a) We have received 558 Derivative Claim Packages, which is an increase of 35

since Status Report No. 3. Table 8 shows the status of these claims:


6
 The 190 denials are associated with one disqualified neurologist (Dr. Ena Andrews, 47 claims) and two
neuropsychologists, Dr. Serina Hoover (139 claims) and Dr. August Dolan-Henderson (4 claims).


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  Table 8                                DERIVATIVE CLAIMS
                                                                        HOW
                                  STATUS                                             %
                                                                        MANY
 1.   Paid ($683,473)                                                    138         25%
 2.   Award Notice Issued but Not Paid ($147,729)                         35          6%
 3.   Denied – Deceased Derivative Claimant                                4         <1%
 4.   Denied – Untimely Derivative Claim Package                          12          2%
 5.   Successful Player Challenge – Not Eligible for Award                 8          1%
 6.   Derivative Claimant Challenge – Pending Final Determination          9          2%
 7.   Withdrawn                                                            8          1%
      Derivative Claim Package Receipt Notice Issued (no action
 8.   required because the associated Player has not yet submitted a      344        62%
      claim, or his claim status was not final)
 9.                                  Totals                               558       100%

Since Status Report No. 3, 59 more Derivative Claimants were paid, we issued 26 more

Notices of Derivative Claimant Award and we denied 11 Derivative Claimants.

       (b) On January 10, 2019, we posted a new version of the Overview of Derivative

Claimant Process to the Reference Guides page on the Settlement Website. This document

now explains in Section G how we will handle Supplemental Derivative Claimant Awards,

including who may potentially share 1% of a Retired NFL Football Player’s Supplemental

Monetary Award and the steps for determining a Derivative Claimant’s eligibility.

                  VI.    OTHER CLAIM PROCESSES

       15.    Handling of Attempted Assignments of Claims.

       (a) We have received 796 signed SWS-5s (Sworn Statement: Status of Assignment of

Monetary Claim) from eligible Settlement Class Members telling us whether they had

attempted to assign a claim in exchange for money from a third-party funder, as shown in

Table 9:




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      Table 9                  SIGNED SWS-5 ASSIGNMENT RESPONSES
                                        HOW MANY                              %
           RESPONSE           AS OF      AS OF                    AS OF     AS OF
                                                        CHANGE                        CHANGE
                             10/15/18    2/11/19                 10/15/18   2/11/19
    No Assignment or
 1.                            504        727            +223     92%       91%         -1%
    Attempt to Assign
    Assigned or
 2.                            42          69            +27       8%        9%         +1%
    Attempted to Assign
 3.       Totals               546        796            +250               100%

         (b) If a Settlement Class Member has attempted to assign any settlement benefits from

his or her Monetary Award claim to a third-party funder, or borrowed any funds against his

or her claim as collateral, he or she also must provide to us all documents relating to that

transaction (a “Third-Party Funder Transaction”), unless the third-party funder has submitted

a Declaration of Consent to Substitution to participate in the Third-Party Funding Resolution

Protocol, as described in Paragraph 15(d) below. We review each Third-Party Funder

Transaction that is not subject to the Third-Party Funding Resolution Protocol with the

Special Masters to determine whether it is an assignment prohibited by Section 30.1 of the

Settlement Agreement and the Court’s December 8, 2017 Explanation and Order (Document

9517) (a “Prohibited Assignment”) and notify the affected Settlement Class Member of that

decision in a Notice of Assignment Review Determination. We have reviewed 50 Third-

Party Funder Transactions (an increase of 14 since Status Report No. 3), 35 of which are

Prohibited Assignments (an increase of 12 since Status Report No. 3). Another 19 Third-

Party Funder Transactions did not require our review because the third-party funder

submitted a Declaration of Consent to Substitution to participate in the Third-Party Funding

Resolution Protocol.

         (c) On any Prohibited Assignment that has not been terminated by agreement between

the Settlement Class Member and the funder, and that is not subject to the Third-Party


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Funding Resolution Protocol described in Paragraph 15(d) below, we issue a Waiver

Relinquishing Rights Under Attempted Assignment contemplated in the Explanation and

Order (“Waiver Form”) for the third-party funder to sign and return within 30 days to: (a)

indicate the amount advanced to the Settlement Class Member that has not been repaid to the

third-party funder; and (b) rescind the Prohibited Assignment and relinquish all claims

relating to it. We send this Waiver Form to the lawyer for a represented Settlement Class

Member and directly to the third-party funder if the Settlement Class Member is not

represented by a lawyer. The Waiver Form includes an attachment for the Settlement Class

Member to sign and return to us showing agreement with the information the third-party

funder provided in the Waiver Form. We have issued 30 Waiver Forms (an increase of 11

since Status Report No. 3) and received 17 completed, signed Waiver Forms from third-party

funders (an increase of seven since Status Report No. 3).

       (d) In addition, we provide a Third-Party Funding Resolution Protocol to third-party

funders and affected Settlement Class Members as we learn of Monetary Awards subject to

an attempted assignment. A funder may elect to participate in it by submitting a Declaration

of Consent to Substitution, a template of which is available on the Settlement Website. By

completing all necessary forms, the third-party funder and Settlement Class Member agree

that the Prohibited Assignment and any rights held under it are terminated. We have

implemented the terms of the Protocol to successfully terminate six transactions between

third-party funders and Settlement Class Members.

       16.    Petitions for Deviation from the Fee Cap. There are no changes since Status

Report No. 3. We have received seven Petitions for Deviation, one of which was withdrawn.




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The Court resolved one of the remaining six Petitions for Deviation; the other five are

pending final resolution.

        17.      Non-Medical Liens Process and Attorneys’ Lien Disputes.

        (a) On January 7, 2019, Magistrate Judge Strawbridge issued a Report and

Recommendation applying five factors to analyze a lawyer’s performance under a

contingency fee contract and resolve Attorneys’ Liens Disputes: (1) reasonableness of the

contingency fee contract at the time it was signed; (2) reasonableness of the contingency fee

contract at the time the lienholder seeks enforcement; (3) results obtained by the lawyer; (4)

quality of representation; and (5) substantiality of the work. Two of the three affected

Settlement Class Members filed objections to the Report and Recommendation based on the

application of the factors to the evidence in the Dispute Record. The Court will review the

Report and Recommendation, as well as the objections and responses thereto, and issue a

final decision accepting, rejecting, or modifying its findings. Magistrate Judge Strawbridge

issued a Memorandum Opinion and Order on January 18, 2019, applying the same factors to

resolve a separate Attorney’s Lien Dispute.

        (b) Table 10 summarizes Non-Medical Lien assertions, notices and disputes by Lien

type and changes to those numbers since Status Report No. 3: 7




7
  Non-Medical Liens are: (a) Attorneys’ Liens (pay lawyers their fees and costs for work they did representing
Settlement Class Members individually in the NFL concussion litigation and/or the Settlement Program); and (b)
Other Liens, which include Child Support Liens (for unpaid child support), Tax Liens (for unpaid taxes) and
Judgment Liens (for money owed under a final judgment entered by a federal or state court in a lawsuit). The Lien
Resolution Administrator handles Medical Liens.


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Table 10                          NON-MEDICAL LIENS SUMMARY
                                     NOTICES OF LIEN LIENS DISPUTED BY
                     LIENS ASSERTED ISSUED BY CLAIMS SETTLEMENT CLASS
     LIEN TYPE                       ADMINISTRATOR       MEMBERS
                      AS OF AS OF             AS OF     AS OF           AS OF     AS OF
                                      CHANGE                    CHANGE                      CHANGE
                     10/15/18 2/11/19        10/15/18   2/11/19        10/15/18   2/11/19
1.   Attorneys’       901   930       +29      319      331      +12     279       278        -1
2.   Child Support    330   339       +9        40       40       0       28        23        -5
3.   Judgment          55    58       +3        11       13      +2        9        11        +2
4.   Tax               48    48        0         1        1       0        0         0         0
5.      Totals       1,334 1,375      +41      371      385      +14     316       312        -4

      (c) Table 11 summarizes the Non-Medical Lien holdbacks by Lien type:

Table 11                         NON-MEDICAL LIEN HOLDBACKS
                      MONETARY
                                           MONETARY
     LIEN TYPE         AWARDS                                          LIEN HOLDBACKS
                                         AWARD AMOUNTS
                      AFFECTED
1.   Attorneys’          18                  $28,265,064.40                $4,978,777.29
2.   Child Support        2                    $2,368,024                   $28,826.47
3.   Judgment             0                       N/A                           N/A
4.   Tax                  0                       N/A                           N/A
5.       Totals          20                  $30,633,088.40                $5,007,603.76

      (d) Table 12 summarizes the Non-Medical Lien payments by Lien type:

Table 12                          NON-MEDICAL LIEN PAYMENTS
                      MONETARY
                                           MONETARY
     LIEN TYPE         AWARDS                                           LIEN PAYMENTS
                                         AWARD AMOUNTS
                      AFFECTED
1.   Attorneys’          12                  $18,015,870.33                $1,408,753.37
2.   Child Support        6                    $7,069,305                   $304,652.40
3.   Judgment             1                    $3,222,009                  $1,588,566.32
4.   Tax                  0                       N/A                           N/A
5.       Totals          19                  $28,307,184.33                $3,301,972.09




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              VII.    COMMUNICATIONS CENTER FOR THE PROGRAM

       18.     Our Contact Activity. Since our contact center opened on February 6, 2017, we

have handled 64,895 total communications, including 41,252 calls made or received and 20,591

emails to us at our Claims Administrator email box. Since Status Report No. 3, we handled

5,683 such total communications. On February 6, 2019, which was the deadline to submit

claims for pre-Effective Date diagnoses, we extended our Call Center hours from 8:00 p.m. to

12:00 midnight Eastern Time to be available for any last-minute Claim Package submission

questions.

       19.     Law Firm Contacts. Our Law Firm Contacts are assigned to 513 different law

firms or lawyers representing Settlement Class Members in the Program. This is 12 more law

firms or lawyers than we reported in Status Report No. 3. The calls and emails handled by the

Law Firm Contacts are part of the total contact activity described in Paragraph 18 above.

       20.     Newsletters. Since Status Report No. 3, we issued four more monthly editions of

our “Insights” newsletter (October, November and December 2018, and January 2019). In each

one, we covered the February 6, 2019 Claim Package submission deadline for pre-Effective Date

diagnoses. In the October, November and December 2018 editions, we covered the June 6, 2019

BAP exam deadline for Retired NFL Football Players born on or before June 6, 1974. We work

with the BAP Administrator and the Lien Resolution Administrator to include material about the

BAP and Medical Liens in the newsletters. We send the newsletters to unrepresented Settlement

Class Members and lawyers by email or mail. We also post them to the Settlement Website

(under “Documents” click “Newsletters”). We invite all lawyers and Settlement Class Members

to send us suggested topics for our newsletters.




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         21.     Settlement Program Website. We regularly update the Settlement Website to

reflect progress and changes to the Program. We have made these changes since Status Report

No. 3:

         (1) Launched a fresh look for the website on November 7, 2018. Users can search all
             content on the website to find what they are looking for.
         (2) Redesigned how we display published Court and Special Master decisions. When we
             launched the new website on November 7, 2018, there was a single “Published
             Decisions” page that had two bookmarked PDFs, one with the decisions by the Court,
             and another with decisions by the Special Masters. On December 6, 2018, we
             changed this to put the published Court and Special Master decisions on separate
             pages. From the Documents menu option, under “Published Decisions” users can
             select either “Court” or “Special Master.” The decisions are broken down by subject
             and presented separately with a unique title, decision date and description.
         (3) Posted seven new decisions the Court or Special Masters designated should be
             published.
         (4) Developed and posted a new Guide to Liens in the Settlement Program and replaced
             the existing Monetary Award Grid and Overview of Derivative Claimant Process on
             the Reference Guides page at
             https://www.nflconcussionsettlement.com/Reference_Guides.aspx. 8
         (5) Added two new Court Orders to the Court Orders and Opinions page at
             https://www.nflconcussionsettlement.com/Court_Orders_Opinions.aspx. The two
             were: (1) Order Directing that Appeal Materials be Submitted to the Claims
             Administrator (Document 10329, filed November 14, 2018); and (2) Order
             Appointing Special Investigator (Document 10355, filed December 10, 2018). 9
         (6) Put Magistrate Judge Strawbridge’s Report and Recommendation for Resolving
             Attorneys’ Liens Disputes (Document 10368, filed January 7, 2019) on the Other
             Court Filings page at
             https://www.nflconcussionsettlement.com/Other_Court_Filings.aspx.
         (7) Posted six new Alerts (https://www.nflconcussionsettlement.com/Alerts.aspx). The
             first, dated November 7, 2018, describes our launch of the redesigned Settlement
             Website. The second, dated November 21, 2018, provides a warning about a scam
             targeting Settlement Class Members. The third, dated January 2, 2019, explains the
             Third-Party Funding Resolution Protocol. 10 The fourth, dated January 14, 2019,
             discusses the 2019 inflation adjustment to Monetary Award amounts. The fifth, dated
             January 17, 2019, describes a Report and Recommendation issued by Magistrate


8
  We discuss in Paragraph 14(b) of this Status Report changes to the Overview of Derivative Claimant Process.
9
  We discuss the appointment of a Special Investigator in Paragraph 13 of this Status Report.
10
   We discuss the Protocol more in Paragraph 15(d) of this Status Report.


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              Judge Strawbridge on resolving Attorneys’ Liens disputes. The sixth, dated January
              24, 2019, announces our launch of the Supplemental Claim submission process.
        (8) Added two new forms to the Payment Forms page at
            https://www.nflconcussionsettlement.com/Payment.aspx. 11
        (9) Added a new “Supplemental Monetary Awards” section to the Claims Forms page at
            https://www.nflconcussionsettlement.com/Claims.aspx. This new section includes
            materials for submitting Supplemental Claims.
        (10) Put on the Home and Login pages a reminder about the February 6, 2019 Claim
             Package submission deadline with a link to a letter from Co-Lead Class Counsel.
Since Status Report No. 3, the Program’s Home page has had 15,098 more unique visits, giving

us 371,073 total unique visits, coming from 189 countries and all 50 of the United States.

                                    VIII. SPECIAL MASTERS

        22.      Our Work with the Special Masters. Since Status Report No. 3, we had seven

more regularly-scheduled calls to discuss policy and operational issues, and have held 64 such

calls with the Special Masters to date. We have many other calls and exchange countless emails

with them to address issues as they arise. The Special Masters have the final say in how the

Settlement is implemented, subject only to the Court’s oversight. We are currently working with

the Special Masters and Court on how best to implement the Court’s January 9, 2019 Order

regarding Qualified MAF Physicians who deviate from the BAP testing protocols and diagnostic

criteria to make Level 1.5 or Level 2 Neurocognitive Impairment diagnoses (Document 10370).

        23.      Program Rules. Since Status Report No. 3, there were no changes to Rules

previously adopted in the Program. All nine sets of Rules are available on the Settlement

Website (under “Documents,” click “Governing Rules”) and on the online portals of law firms,

lawyers and pro se Settlement Class Members.




 We added: (1) Waiver Relinquishing Rights Under Attempted Assignment; and (2) Termination and Release
11

Agreement.


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           24.      Decisions. Since Status Report No. 3, the Special Masters issued four new

decisions and designated them to be published. We post these rulings to the Settlement Website

(under “Documents,” click “Special Master” below “Published Decisions”). Two of these four

new rulings were Monetary Award appeals and two were from Audit Proceedings. 12 The Special

Masters have so far issued five published Monetary Award appeal decisions and five Audit

decisions.

                 IX.      PROCEDURES AND FREQUENTLY ASKED QUESTIONS

           25.      Coordination with the Parties. We conducted 11 more weekly policy and

operational issue calls with the Parties after Status Report No. 3 and have held 123 such calls in

this Program since April 19, 2016. We also have other calls, meetings and emails with the

Parties on particular interpretation or operational issues that arise. Where we do not have

consensus among the Parties on an issue, we consult the Special Masters to determine the best

practices approach, while still honoring the terms of the Settlement Agreement.

           26.      Frequently Asked Questions. Since Status Report No. 3, we did not add any

new FAQs. We did, however, make substantive revisions to these FAQs already on the

Settlement Website:

                 (a) FAQ 52 (“Is there a deadline for taking the BAP exam?”), to provide more
                     clarification on what it means to “take” the exam for those subject to the June
                     6, 2019 deadline; and

                 (b) FAQs throughout the 15 categories, to update references and path links for the
                     redesigned Settlement Website.

“FAQs” is one of the options in the green menu bar on the Settlement Website. These FAQs

contain links to other tools and resource guides posted on the Settlement Website to help




12
     We discuss the two Audit decisions in Paragraph 11 of this Status Report.


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Settlement Class Members and their lawyers navigate the Program. The banner at the top of

the page contains a link to a printable PDF version of the full set of FAQs.

                                         X.      REGISTRATION

           27.   Registration Submissions.

           (a) Sections 1 and 2 of the Summary Report on the Settlement Website cover

Registration. Table 13 here shows changes in the number of timely Registration submissions

since our Status Report No. 3:

     Table 13                       TIMELY REGISTRATION SUBMISSIONS
              TYPE OF SETTLEMENT
                                                    AS OF 10/15/18 AS OF 2/11/19                 CHANGE
                  CLASS MEMBER
     1.   Retired NFL Football Players                      15,958              15,938               -20
     2.   Representative Claimants                           1,262               1,294               +32
     3.   Derivative Claimants                               3,294               3,295               +1
     4.                  Totals                             20,514              20,527               +13

The number of Retired NFL Football Players (Row 1) went down by 20 from Status Report

No. 3 because 21 were replaced by Representative Claimants, and one, which we had found

untimely, was later found timely by the Special Master after a Registration Appeal. Of the

20,527 persons who sent us timely Registration materials, we issued Registration notices to

20,524. 13 Of the 20,524 who we issued notices to, we were able to confirm that 19,366 of

them are Settlement Class Members under the Settlement Agreement, of whom 12,828 are

Retired NFL Football Players eligible to participate in the BAP. 14 The other 1,158 persons

have incomplete registrations or are not Settlement Class Members under the Settlement

Agreement because of one or more of these reasons: (1) they were on an Active Roster as of



13
  The other three did not receive Registration notices because they were still under Registration review.
14
  In Paragraph 28 of this Status Report we explain an Eligible Seasons change that caused eight new Retired NFL
Football Players to be found eligible for the BAP.


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July 7, 2014; (2) they did not play “NFL Football” as defined in the Settlement Agreement;

(3) they opted out of the Settlement Program; (4) they did not provide us with the

information or support required by the Settlement Agreement to register, after several notices

from us and up to 150 days to turn it in; or (5) they tried to register as a Derivative Claimant

but did not have a relationship with the Retired NFL Football Player by which they had a

right under applicable state law to sue independently or derivatively.

         (b) We are responsible for determining whether registrations submitted after August

7, 2017, that do not meet one of the good cause exceptions specified in Section 4.2(c)(i) of

the Settlement Agreement can otherwise be accepted under the Rules Governing Registration

Determinations and Appeals. We have made determinations on 247 such late Registrations

and found that 133 (54%) of them presented good reasons to be allowed to register late.

Table 14 shows the change in these numbers since Status Report No. 3:

  Table 14                                        LATE REGISTRATIONS
                    STATUS                             AS OF 10/15/18 AS OF 2/11/19                   CHANGE
 1.    Accepted as Timely                                   99            133                           +34
 2.    Not Accepted as Timely15                            125            114                           -11
 3.                  Totals                                224            247                           +23

         (c) Settlement Class Members who disagree with our Registration determinations may

object to them by sending us a challenge. The NFL Parties also may challenge our timeliness

decisions. We have received 370 challenges, which is 18 more than we reported in Status

Report No. 3. Table 15 explains these challenges and what happened to them:



15
   There are two reasons for the decrease in Row 2 of Table 14: (1) one Retired NFL Football Player had our
untimely determination overturned on appeal; and (2) we no longer count Representative Claimants here who have
cured their original Registration deficiencies related to missing or insufficient documents authorizing them as a legal
representative of a deceased or legally incapacitated or incompetent Retired NFL Football Player, or are in the
process of acquiring a court order appointing them as the authorized representative of a deceased Retired NFL
Football Player.


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     Table 15           CHALLENGES OF OUR REGISTRATION DETERMINATIONS
                                                                                               CHALLENGE
                                               HOW     WHO     CHALLENGE
                       ISSUE                                                                      NOT
                                               MANY CHALLENGED SUCCESSFUL
                                                                                               SUCCESSFUL
          Not a Retired NFL Football                       Settlement
     1.                                          46                                   23              23
          Player                                          Class Member
                                                           Settlement
     2.   Not Eligible for the BAP              243                                   75             168
                                                          Class Member
                                                           Settlement
     3.   Not Properly Registered                53                                   44               9
                                                          Class Member
          Granted Good Cause
     4.   Extension for Untimely                  9            NFL                    1                8
          Registration
          Denied Good Cause Extension                      Settlement
     5.                                          17                                   4               13
          for Untimely Registration                       Class Member
          Not a Valid                                      Settlement
     6.                                           2                                   0                2
          Derivative Claimant                             Class Member
     7.   RelationshipTotals                    370                                147               223

Those who are not successful in challenging Registration determinations to us may appeal

our decision to the Special Masters. Table 16 shows the appeals thus far and the Special

Masters’ rulings on them:

     Table 16        APPEALS OF OUR DECISIONS ON REGISTRATION CHALLENGES
                                       HOW                  WHO             DECISION DECISION
                   ISSUE
                                       MANY            APPEALED              UPHELD OVERTURNED
          Not a Retired NFL                           Settlement Class
     1.                                   3                                       3                   0
          Football Player                                 Member
          Not Eligible for the                        Settlement Class
     2.                                   26                                     24                   2
          BAP                                             Member
          Not a Valid Derivative                      Settlement Class
     3.                                   1                                       1                   0
          Claimant Relationship                           Member
          Denied Good Cause
                                                      Settlement Class
     4.   Extension for Untimely          3                                       2                   1
                                                          Member
          Registration
     5.            Totals                 33                                     30                  3 16



16
     These two were the result of the 53-Man Roster decision issued on December 5, 2017 (Document 9513).


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       28.     Change on Calculating Half an Eligible Season. Section 2.1(kk) of the

Settlement Agreement sets out several ways to calculate a Retired NFL Football Player’s

Eligible Seasons and half an Eligible Season to be able to participate in the BAP. One method

allows us to credit a Player with half an Eligible Season if he was on a Member Club’s practice,

developmental, or taxi squad for at least eight regular season games. We recently clarified with

the Parties that a bye week counts as a game for practice squad players. To implement this

clarification, we worked with the NFL Parties to identify 36 Retired NFL Football Players who

were on a practice squad for seven games and a bye week in a season and did not already have

credit for half an Eligible Season for that year. We assigned all 36 half an Eligible Season for

that year. This gave eight of those 36 half an Eligible Season for the first time, making them

eligible for the BAP for the first time. On January 30, 2019, we sent them new Registration

notices showing this half an Eligible Season and their BAP eligibility.

       29.     Centralized Process for Appointment of Representative Claimants and

Derivative Claimant Representatives. The Special Masters have approved 385 petitions

from persons to serve as the Representative Claimant of a deceased or legally incapacitated

or incompetent Retired NFL Football Player and three petitions from Derivative Claimant

Representatives to act on behalf of minor Derivative Claimants. This is nine new

Representative Claimant approvals since Status Report No. 3. There have been no new

Derivative Claimant Representatives since Status Report No. 3.




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                                     XI.      OTHER FUNCTIONS

        30.      Online Portals.

        (a) On December 6, 2018, we added surveys to the Pro Se, Law Firm, AAP/AAPC

and Qualified MAF Physician Portals. 17 These surveys let users give us feedback about their

experiences, which we will use to enhance our services. We invite and encourage all

Settlement Class Members and lawyers who use a portal to complete the surveys, give us

their honest opinions and offer suggestions for improvement. Overall, the feedback we

received through the surveys has been positive, particularly on how easy the online claim

submission process is and how helpful our deadline reminder emails are for responding to

notices on time. We are looking into suggested improvements to the document upload

feature and access to past notices.

        (b) On January 10, 2018, we posted a message on the Home page of Pro Se and Law

Firm portals about the February 6, 2019 Claim Package submission deadline.

                                           XII.   CONCLUSION

        31.      General Status. We have 173,550 documents (14,005 gigabytes, or 14

terabytes of data), including notices we have issued, stored on Settlement Class Members,

which is 10,695 more than when we filed Status Report No. 3. We have issued 35,129

notices (968 more since Status Report No. 3) of various kinds (Registration, claims, appeals,

Audit, etc.) to 20,930 different persons since March 23, 2017, and developed and

programmed over 70 different types of notices and forms that are used in the Program.




17
  In the Pro Se Portal, we issued the survey only for Retired NFL Football Players and Representative Claimants
who submitted Claim Packages, as they are more frequent users than persons who have registered only. In the Law
Firm Portal, each person who has a login ID to access a particular law firm’s portal may participate.


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                             Respectfully submitted,

                             CLAIMS ADMINISTRATOR

                             By:      /s/ Orran L. Brown, Sr.
                                   Orran L. Brown, Sr.
                                   Virginia State Bar No.: 25832
                                   BrownGreer PLC
                                   250 Rocketts Way
                                   Richmond, Virginia 23231
                                   Telephone: (804) 521-7201
                                   Facsimile: (804) 521-7299
                                   Email: obrown@browngreer.com




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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing Claims Administrator Status Report No. 4

was filed electronically on this 15th day of February, 2019, and was served electronically upon

Class Counsel, Counsel for the NFL Parties and all counsel of record by the United States

District Court for the Eastern District of Pennsylvania’s electronic filing system.



                                                /s/ Orran L. Brown, Sr.
                                              Orran L. Brown, Sr.
                                              Virginia State Bar No.: 25832
                                              BrownGreer PLC
                                              250 Rocketts Way
                                              Richmond, Virginia 23231
                                              Telephone: (804) 521-7201
                                              Facsimile: (804) 521-7299
                                              Email: obrown@browngreer.com




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